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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

  ZAPF CREATION AG,

          Plaintiff,                                          Case No.: 1:19-cv-1225

   v.                                                         Judge Charles R. Norgle, Sr.

  THE PARTNERSHIPS AND UNINCORPORATED                         Magistrate Judge Jeffrey T. Gilbert
  ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

          Defendants.


                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                NO.                                   DEFENDANT
                275                                  HZXMIAO Store
                253                                       Saingacy
                115                                    yfh6696931-2
                 78                                     jewelry-base
                 73                                 homme-fashion501
                 71                                  greenteatime2016
                112                                       wkfsz784
                224                                 passionate-lifeshine
                 72                                   home-garden-us
                231                                    trs-seller2012
                114                                   xed85881rsa_4
                 87                                    nvj5865684-4
                 90                               picturesque-landscape
                 86                                       mrzo_33
                 66                                     e-suggestion
                 64                                       drmp-97
                 69                                  flowersblossoms
                108                                    trail-blazer21
    Case: 1:19-cv-01225 Document #: 41 Filed: 04/12/19 Page 2 of 2 PageID #:4735




                95                                      rrhg801983085-4
                 96                                          saih.tan
                  7                                    secret-palace2018
                 93                                          pxna_86
                 81                                     lemontree0528_3
                111                                     whistlerecalllove
                132                                   TOP International line
                145                                   Ali-Jetting Toy Store
                170                                       Idea Life Store
                182                                           Middle
                144                              Ali Fashioning Toy Store
                187                        Pregnant Child Baby Accessories Store
                165                                   goodgirl Store
                129                                    mimicry1975


DATED: April 12, 2019                                   Respectfully submitted,

                                                        /s/ Keith A. Vogt
                                                        Keith A. Vogt (Bar No. 6207971)
                                                        Keith Vogt, Ltd.
                                                        1033 South Blvd., Suite 200
                                                        Oak Park, Illinois 60302
                                                        Telephone: 708-203-4787
                                                        E-mail: keith@vogtip.com

                                                        ATTORNEY FOR PLAINTIFF




                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on April 12, 2019 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                        /s/ Keith A. Vogt
                                                        Keith A. Vogt



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